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 8
                                  UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11
     WILLIAM MANN, SR., an individual; and          No. 2:16-cv-01847-WBS-DB
12   ROBERT MANN, DEBORAH MANN,
     and VERNADINE MURPHY MANN, as
13   Co-Administrators of the Estate of             STIPULATION AND PROTECTIVE ORDER
     JOSEPH MANN,
14
                    Plaintiffs,
15
     v.
16
     CITY OF SACRAMENTO, a municipal
17   corporation; JOHN TENNIS, in his
     individual and official capacity as Police
18   Officer for the CITY OF SACRAMENTO;
     RANDY LOZOYA, in his individual and
19   official capacity as Police Officer for the
     CITY OF SACRAMENTO; and DOES 1-
20   50, inclusive, individually and in their
     official capacity as police officers for the
21   City of Sacramento,

22                  Defendants.

23

24          1.      PREFATORY STATEMENT.

25          Although the operative Second Amended Complaint in this matter was only

26   filed on October 6, 2016 [Doc. 12] and Defendants have only filed their initial Answer as of

27   October 10, 2016 [Doc. 13], the parties and their respective counsel seek to enter into confidential

28   outside mediation at the earliest mutually available opportunity (hopefully within the next 3-6
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 1   months). The underlying officer-involved shooting giving rise to this litigation occurred on July

 2   11, 2016, and is currently under review by the Sacramento County District Attorney as well as

 3   ongoing administrative review by the Sacramento Police Department. Plaintiffs have also

 4   contacted the United States Department of Justice to review the incident.

 5          While the parties recognize the need to maintain the integrity of these independent

 6   reviews of this incident by not publicly disclosing ongoing aspects of the investigation/files, the

 7   parties further acknowledge that meaningful mediation cannot take place unless all parties have

 8   the opportunity to review the existing and ongoing investigation/files. In order to facilitate such

 9   review, the parties stipulate and seek a Protective Order which will allow all parties to exchange

10   documents and files labeled as “confidential” while continuing to limit the disclosure and use of

11   such “confidential” materials exclusively to the parties and their authorized representatives and

12   counsel for the duration of this Protective Order.

13          This Court has currently set this matter for a Scheduling Conference on December 19,

14   2016, at 1:30 p.m., at which time dates will be set for initial disclosures, discovery cut-off and

15   other pertinent matters. While the parties recognize and acknowledge that some of the

16   “confidential” materials covered under this Protective Order may eventually become subject to

17   disclosure through discovery or other aspects of this litigation and thus no longer subject to this

18   Protective Order, duplicate copies of such materials shall be produced without any “confidential”

19   label and will thereafter be subject to the normal parameters of discovery and the Federal Rules.

20          2.      PARTIES SUBJECT TO PROTECTIVE ORDER.
21          It is the intent of the parties that the materials and information covered by

22   this Protective Order shall include, but not be limited to, all parties whether individually and/or in

23   a representative capacity and all counsel (including all attorneys, staff, consultants, experts,

24   representatives, employees and members of each respective law firm). In the event that anyone

25   covered by this Protective Order has cause to release any information or materials covered by this

26   Protective Order in any form, whether verbally, by copy, electronically or any other method, the
27   receiving individual/entity shall first be required to execute an acknowledgement and agreement

28   to be bound by the terms of this Protective Order.
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 1          It is further the intent of the parties and counsel that any information/materials released

 2   under the Protective Order shall be expressly excluded from release in any form to the media,

 3   members of the public or any other individual(s), group or entity not expressly authorized by this

 4   Protective Order to receive, review or otherwise become privy to such information/materials.

 5          It is further the intent of the parties and counsel that any and all information/materials

 6   disclosed under the terms of this Protective Order shall be for the limited purpose of preparing for

 7   and participating in confidential mediation between the parties and for no other purpose.

 8          In the event that any receiving party receives a request for access to any

 9   materials/information covered by this Protective Order, including a subpoena, such party shall

10   promptly (but in no case beyond five days of receipt of such request) notify the designating party

11   of such request. Under no circumstance shall any receiving party release in any form any

12   materials/information covered by this Protective Order without first timely notifying the

13   designating party and engaging in meaningful meet and confer efforts to address such a request.

14   In the event that the parties are unable to informally resolve any such issues, either party may

15   seek judicial intervention pursuant to the Local Rules pertaining to discovery disputes.

16          3. SCOPE

17          The protections conferred by this Stipulation and Order cover not only Protected Material

18   (as defined above), but also (1) any information copied or extracted from Protected Material; (2)

19   all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

20   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.
21   However, the protections conferred by this Stipulation and Order do not cover the following

22   information: (a) any information that is in the public domain at the time of disclosure to a

23   Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as a

24   result of publication not involving a violation of this Order, including becoming part of the public

25   record through trial or otherwise; and (b) any information known to the Receiving Party prior to

26   the disclosure or obtained by the Receiving Party after the disclosure from a source who obtained
27   the information lawfully and under no obligation of confidentiality to the Designating Party. Any

28   use of Protected Material at trial shall be governed by a separate agreement or order.
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 1           4.      DURATION.

 2           Whether any materials/information are at any time disclosed through the normal course of

 3   discovery, public records or any other lawful process or source, materials and information marked

 4   or designated as “confidential” and disclosed under the terms of this Protective Order shall not be

 5   reproduced, released or otherwise distributed in any form outside of the terms of this Protective

 6   Order. The confidentiality obligations imposed by this Protective Order shall continue to apply to

 7   such materials/information even after the final disposition of this litigation. Upon settlement of

 8   this matter by way of mediation or other final disposition of this matter, the receiving party,

 9   counsel and all recipients of designated materials shall promptly destroy all originals and copies

10   in all forms or return such designated copies and originals to the designating party. All receiving

11   parties, counsel and representatives of such designated materials/information shall further

12   prohibited from utilizing or relying upon any designated materials in any future litigation or other

13   matters.

14           However, the parties recognize and agree that in the event any such materials/information

15   are subsequently obtained through the normal course of discovery, public records or any other

16   lawful process or source, such materials/information (not labeled “confidential”) shall thereafter

17   become subject to release under the Federal Rules and other applicable authorities.

18           5.      MATERIALS PROTECTED.

19           Any party/counsel producing materials/information subject to this Protective

20   Order shall affix “confidential” to each page of the designated documents. With respect to any
21   materials produced electronically, including but not limited to photographs, video and audio

22   recordings, the designating party shall label the disk, thumb drive or other storage form as

23   “confidential” with the understanding and agreement that all materials and information contained

24   on such device shall be covered by the terms of this Protective Order.

25      6.         CHALLENGING CONFIDENTIALITY DESIGNATIONS

26           6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of
27   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

28   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
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 1   burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

 2   challenge a confidentiality designation by electing not to mount a challenge promptly after the

 3   original designation is disclosed.

 4          6.2      Meet and Confer. The Challenging Party shall initiate the dispute resolution

 5   process by providing written notice of each designation it is challenging and describing the basis

 6   for each challenge. To avoid ambiguity as to whether a challenge has been made, the written notice

 7   must recite that the challenge to confidentiality is being made in accordance with this specific

 8   paragraph of the Protective Order. The parties shall attempt to resolve each challenge in good faith

 9   and must begin the process by conferring directly (in voice to voice dialogue; other forms of

10   communication are not sufficient) within 14 days of the date of service of notice. In conferring, the

11   Challenging Party must explain the basis for its belief that the confidentiality designation was not

12   proper and must give the Designating Party an opportunity to review the designated material, to

13   reconsider the circumstances, and, if no change in designation is offered, to explain the basis for

14   the chosen designation. A Challenging Party may proceed to the next stage of the challenge

15   process only if it has engaged in this meet and confer process first or establishes that the

16   Designating Party is unwilling to participate in the meet and confer process in a timely manner.

17          6.3      Judicial Intervention. If the Parties cannot resolve a challenge without court

18   intervention, the Designating Party shall file and serve a motion to retain confidentiality, (in

19   compliance with Civil Local Rule 141, if applicable) within 21 days of the initial notice of

20   challenge or within 14 days of the parties agreeing that the meet and confer process will not
21   resolve their dispute, whichever is earlier. Each such motion must be accompanied by a competent

22   declaration affirming that the movant has complied with the meet and confer requirements

23   imposed in the preceding paragraph. Failure by the Designating Party to make such a motion

24   including the required declaration within 21 days (or 14 days, if applicable) shall automatically

25   waive the confidentiality designation for each challenged designation. In addition, the Challenging

26   Party may file a motion challenging a confidentiality designation at any time if there is good cause
27   for doing so, including a challenge to the designation of a deposition transcript or any portions

28   thereof. Any motion brought pursuant to this provision must be accompanied by a competent
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 1   declaration affirming that the movant has complied with the meet and confer requirements

 2   imposed by the preceding paragraph.

 3          The burden of persuasion in any such challenge proceeding shall be on the Designating

 4   Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

 5   unnecessary expenses and burdens on other parties) may expose the Challenging Party to

 6   sanctions. Unless the Designating Party has waived the confidentiality designation by failing to file

 7   a motion to retain confidentiality as described above, all parties shall continue to afford the

 8   material in question the level of protection to which it is entitled under the Producing Party’s

 9   designation until the court rules on the challenge.

10           7.      ENFORCEMENT.

11           The terms of this Protective Order are authorized by F.R.Civ.P., Rule 26 and

12   Shall be enforced as an Order of the Court as to all parties, counsel and other recipients of any

13   designated materials/information.

14   Dated: November 7, 2016                        FERGUSON, PRAET & SHERMAN
                                                         A Professional Corporation
15

16
                                                      By:        /s/ Bruce D. Praet_________
17                                                             Bruce D. Praet, Attorneys for
                                                               Defendants
18

19   Dated: November 7, 2016                        Law Offices of John L. Burris
20
21                                                    By: __/s/ Melissa Nold___________
                                                           Melissa Nold, Attorneys for
22                                                         Plaintiffs
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 1                                                 ORDER

 2          Pursuant to the parties’ stipulation, IT IS SO ORDERED.

 3          IT IS FURTHER ORDERED THAT:

 4          1. Requests to seal documents shall be made by motion before the same judge who will

 5   decide the matter related to that request to seal.

 6          2. The designation of documents (including transcripts of testimony) as confidential

 7   pursuant to this order does not automatically entitle the parties to file such a document with the

 8   court under seal. Parties are advised that any request to seal documents in this district is governed

 9   by Local Rule 141. In brief, Local Rule 141 provides that documents may only be sealed by a

10   written order of the court after a specific request to seal has been made. L.R. 141(a). However, a

11   mere request to seal is not enough under the local rules. In particular, Local Rule 141(b) requires

12   that “[t]he ‘Request to Seal Documents’ shall set forth the statutory or other authority for sealing,

13   the requested duration, the identity, by name or category, of persons to be permitted access to the

14   document, and all relevant information.” L.R. 141(b) (emphasis added).

15          3. A request to seal material must normally meet the high threshold of showing that

16   “compelling reasons” support secrecy; however, where the material is, at most, “tangentially

17   related” to the merits of a case, the request to seal may be granted on a showing of “good cause.”

18   Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096-1102 (9th Cir. 2016), petition

19   for cert. filed, ___ U.S.L.W. ___ (U.S. March 24, 2016) (No. 15-1211); Kamakana v. City and

20   County of Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006).
21          4. Nothing in this order shall limit the testimony of parties or non-parties, or the use of

22   certain documents, at any court hearing or trial – such determinations will only be made by the

23   court at the hearing or trial, or upon an appropriate motion.

24          5. With respect to motions regarding any disputes concerning this protective order which

25   the parties cannot informally resolve, the parties shall follow the procedures outlined in Local

26   Rule 251. Absent a showing of good cause, the court will not hear discovery disputes on an ex
27   parte basis or on shortened time.

28   ////
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 1           6. The parties may not modify the terms of this Protective Order without the court’s

 2   approval. If the parties agree to a potential modification, they shall submit a stipulation and

 3   proposed order for the court’s consideration.

 4           7. Pursuant to Local Rule 141.1(f), the court will not retain jurisdiction over enforcement

 5   of the terms of this Protective Order after the action is terminated.

 6           8. Any provision in the parties’ stipulation that is in conflict with anything in this order is

 7   hereby DISAPPROVED.

 8   Dated: November 9, 2016

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     Dated: November 9, 2016
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     DLB:6
25   DB/orders/orders.civil/mann1847.stip.prot.ord

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 1                                                 EXHIBIT A
 2                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3   I, ___________________________, declare under penalty of perjury that I have read in its

 4   entirety and understand the Stipulated Protective Order that was issued by the United States

 5   District Court for the Eastern District of California on              in the case of Mann v. City of

 6   Sacramento; 2:16-cv-01847-WBS-DB. I agree to comply with and to be bound by all the terms of

 7   this Stipulated Protective Order and I understand and acknowledge that failure to so comply could

 8   expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will

 9   not disclose in any manner any information or item that is subject to this Stipulated Protective

10   Order to any person or entity except in strict compliance with the provisions of this Order. In

11   addition, no archival copies, information contained or referenced therein that constitute Protected

12   Material may be disclosed, released or relied upon or incorporated into any other matter outside

13   the terms of this Protective Order without written permission of the Designating Party. I further

14   agree to submit to the jurisdiction of the United States District Court for the Eastern District of

15   California for the purpose of enforcing the terms of this Stipulated Protective Order, even if such

16   enforcement proceedings occur after termination of this action.

17   I hereby appoint __________________________ [print or type full name] of

18   _______________________________________ [print or type full address and telephone number]

19   as my California agent for service of process in connection with this action or any proceedings

20   related to enforcement of this Stipulated Protective Order.

21   Date: ______________________________________

22   City and State where sworn and signed: _________________________________

23   Printed name: _______________________________

24   Signature: __________________________________

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